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April 5, 2021
Infilaw Holding, LLC
Attention: Chief Executive Officer
        Re:      Infilaw Holding, LLC Equity Forfeiture
To Whom It May Concern:
         The purpose of this letter is to notify Infilaw Holding, LLC (the “Company” or “you”) that Sterling
Capital Partners, L.P. (“SCP”) and Sterling Capital Partners GMBH & Co. KG (“SCPG”) each intend to
forfeit and surrender its respective equity interests in the Company, effective immediately.
        Reference is hereby made to that certain Fifth Amended and Restated Operating Agreement of the
Company, dated as of July 31, 2017 (as amended or modified from time to time, the “LLC Agreement”).
Any terms used but not defined herein shall have the meaning set forth in the LLC Agreement. As of the
date hereof, SCP and SCPG are the sole Sterling Members. The Company is the indirect parent of Florida
Coastal School of Law, Inc.
        Each of SCP and SCPG hereby (without any further action on the part of the Company, SCP or
SCPG) forfeits, surrenders, transfers and assigns all of its respective right, title and interest in all outstanding
Units of the Company for no consideration (the “Forfeiture”). As such, effective as of the date hereof,
neither SCP nor SCPG (i) owns any equity interests of any kind or nature in the Company or any of its
subsidiaries, (ii) is party to the LLC Agreement (and shall no longer be a Member), the Registration Rights
Agreement, or any other agreement with the Company or its subsidiaries and (iii) has any governance or
economic rights, interests or obligations related to the Company or any of its subsidiaries.
        Please contact M. Avi Epstein, General Counsel, Managing Director, and Chief Operating Officer,
with any questions at (312) 465-7064.
                                       *        *        *        *        *




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Sincerely,
STERLING CAPITAL PARTNERS, L.P.
By:      SC Partners, L.P.
Title:   General Partner
By:      Sterling Capital Partners, LLC
Title:   General Partner
By:   ______________________
Name: M. Avi Epstein
Its:  General Counsel and Chief Operating Officer


STERLING CAPITAL PARTNERS GMBH & CO. KG
By:      SC Partners, L.P.
Title:   General Partner
By:      Sterling Capital Partners, LLC
Title:   General Partner
By:   ______________________
Name: M. Avi Epstein
Its:  General Counsel and Chief Operating Officer




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